




















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-02-00332-CV
____________

SUMMIT INVESTMENT PARTNERS INC., Appellant

V.

MANHATTAN LIFE INSURANCE COMPANY, Appellee




On Appeal from the 164th District Court
Harris County, Texas
Trial Court Cause No. 01-00465




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss this appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed with
prejudice.  Tex. R. App. P. 42.1(a).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
&nbsp;
PER CURIAM
Panel consists of Justices Hedges, Nuchia, and Keyes.


